                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )           CASE NO. 8:06CR116
                                                )
                      Plaintiff,                )
                                                )
       vs.                                      )                MEMORANDUM
                                                )                 AND ORDER
DALE GILES,                                     )
                                                )
                      Defendant.                )

       This matter is before the Court on the merits of the Motion Under 28 U.S.C. § 2255

to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody (Filing No. 795)

and the government's Motion To Dismiss (Filing No. 820). Giles filed a supporting brief

(Filing No. 806), the government filed a brief in support of its Answer (Filing No. 829) and

an index of evidence (Filing No. 828), and Giles filed a responsive brief (Filing No. 835).

On initial review, the Court summarily dismissed Claims: I(3), (5), and (6); II(5); III(1), (3),

(4), and (5); and IV(2), (3), (4), (5), and (8) and required the government to answer Claims:

I(1), (2), (4), and (7); II(1), (2), (3), (4), and (6); III(2); and IV(1), (6), and (7). The

government moved to dismiss Count VII as against Giles.1 For the reasons discussed

below, the § 2255 motion will be denied on its merits.

                                   FACTUAL BACKGROUND

       Giles was convicted after a jury trial of the following charges in the Fifth Superseding

Indictment: conspiracy to distribute or possess with intent to distribute 1,000 kilograms or

more of marijuana (Count I); using, carrying, or possessing a firearm during and in relation


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        The Eighth Circuit Court of Appeals reversed codefendant Charmar Brown's
conviction on Count VII, remanded his case for resentencing, and otherwise affirmed this
Court's judgment. Brown was resentenced, and Count VII was vacated. Brown was
sentenced as he was previously on the remaining counts.
to a drug trafficking crime (Counts II, IV, and VII); being a felon in possession of a firearm

(Counts III, V, and VIII); and possessing at least 100 kilograms of marijuana with intent to

distribute (Count VI).

       Giles was sentenced to the following terms of imprisonment: life imprisonment on

Counts I and VI, which were grouped; 120 months on Counts III, V, and VIII, to be served

concurrently with the life sentence; 120 months on Count II, to be served consecutively to

all other counts; 300 months on Count IV, to be served consecutively to all other counts;

and 300 months on Count VII, to be served consecutively to all other counts. The Eighth

Circuit Court of Appeals affirmed this Court’s judgment as to Giles. Giles timely filed his §

2255 motion.

       Steven Lefler represented Giles as retained counsel from the date of Giles's initial

appearance. Terri L. Crawford was added as additional retained counsel on May 25,2006.

Lefler and Crawford withdrew on March 20, 2007, and on that date Mark A. Weber was

appointed.

                                       DISCUSSION

I.     Government's Motion to Dismiss Count VII

       The government moves to dismiss Count VII. This is permissible, even after

sentencing, with Giles's consent. 3B CHARLES A. W RIGHT , NANCY J. KING , ET AL., FEDERAL

PRACTICE AND PROCEDURE § 812, AT 331 (3D ED . 2004). Implicit in Giles's argument that the

jury instruction with respect to Count VII was improper is Giles's “consent” to the dismissal

of Count VII. The motion is granted, and an amended Judgment will be issued. The

dismissal of Count VII renders Claim IV(1) in the § 2255 motion moot.



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II.    § 2255 Motion

       In order to establish ineffective assistance of counsel, Giles must satisfy both prongs

of the test articulated by the United States Supreme Court in Strickland v. Washington, 466

U.S. 668 (1984). The performance prong requires a showing that counsel performed

outside the wide range of reasonable professional assistance and made errors so serious

that counsel failed to function as the kind of counsel guaranteed by the Sixth Amendment.

Id. at 687-89. The prejudice prong requires a movant to demonstrate that seriously

deficient performance of counsel prejudiced the defense. Id. at 687.

A.     Claims I(1), (2), and IV(7) - Speedy Trial

       Giles argues that his counsel was ineffective for failing to move for a dismissal based

on his constitutional and statutory rights to a speedy trial. He also argues that this issue

should have been raised on appeal.

       Absent exclusions, a defendant must be tried within 70 days from the date the

indictment is made public or the defendant's initial appearance, whichever is later. 18

U.S.C. § 3161(c)(1).

       In Giles's case, his initial appearance and arraignment hearing with respect to the

original Indictment was held on April 25, 2006. The Third Superseding Indictment (Filing

No. 107) filed on August 23, 2006, added parties and, therefore the speedy clock was reset

with the filing of that indictment. United States v. Jenkins-Watts, 574 F.3d 950, 966 (8th Cir.

2009). Giles was arraigned on the Third Superseding Indictment on September 19, 2006,

and the speedy trial calculation began on September 20, 2006.2

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        The Court appreciates the government's speedy trial calculation. However, its
calculation only considered the motions of Giles, Charmar Brown and Evereada Kouris.

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# Days Elapsed      Date/Event

0                   Hearing on motions at filings 89, 93, 95. Motions submitted upon

                    receipt of transcript on 10/9/06; Magistrate Judge had until 11/8/06 to

                    file Report and Recommendation (“RR”).

0                   11/8/06 - 12/18/06 - motions pending; on 12/18/06 last objections filed

                    to RR (Filing 215); district judge had until 1/17/07 to file Memorandum

                    and Order (“MO”)

0                   1/18/07 - Fifth Superseding Indictment filed

0                   1/19/07 - MO (Filing 297) filed regarding RR (Filing 215)

0                   before 1/20/07- 2/12/07 - pleas of Howard, Dotson, McGinnis, Newell;

                    RRs and MOs

0                   2/12/07-9/25/07 - excluded (Filings 322, 399)

0                   9/25/07 - trial began

      Because it appears that no days elapsed under the speedy trial clock, Giles cannot

prove either Strickland prong.

B.    Claims I(4) and II(1) - Failure to Interview and Subpoena Witnesses

      Giles argues that his attorney was ineffective for failing to interview his former

counsel Steven Lefler3 and trial witness George Moore, when evidence showed that

Moore's pre-arrest statements did not implicate Giles.



The Court considered all defendants in its calculation.
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       The Court acknowledges its typographical error in its previous Memorandum and
Order regarding the initial review substituting “Susan Lehr” for “Steven Lefler.” Giles's
motion addressed Lefler.

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1.     Steven Lefler

       Giles argues that trial counsel was ineffective for failing to subpoena Lefler to rebut

the testimony of government witness George Moore. Giles's argument consists merely of

general and conclusory allegations. Giles did not state what he expected Lefler to say, if

subpoenaed. Such allegations are “deficient.” Bryson v. United States, 268 F.3d 560, 562

(8th Cir. 2001). Giles has not proved either Strickland prong.

2.     George Moore

       Moore testified that he was interviewed by the government five times, and that he lied

during the first three interviews. Generally, he stated his lie was to place the blame for the

shootings on Brown at the direction of Giles's former counsel, Terri Crawford. Weber stated

in his affidavit that he had no reason to subpoena Moore, as Moore was a government

witness and he had the opportunity to cross-examine him. In fact, Weber did cross-

examine Moore. Weber also stated that his trial strategy included not emphasizing Moore's

testimony.    Finally, Weber had reports of all of Moore's interviews and knew the

government's case, including the details of Moore's expected testimony. The Eighth Circuit

has stated that defense counsel is not ineffective for not interviewing a government witness

if counsel knows the substance of the witness's testimony. See, e.g., United States v.

Smith, 107 F.3d 876, at *1 (8th Cir. 1997); Lindhorst v. United States, 658 F.2d 598, 604 (8th

Cir. (1981). Moreover, matters of trial strategy are routinely left to an attorney's discretion.

United States v. Villalpando, 259 F.3d 934, 938-39 (8th Cir. 2001). Therefore, Giles cannot

prove either Strickland prong.




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C.     Claims I(7) and II(4) - Influencing Government Witnesses

       Giles argues his former counsel, Terri Crawford, was ineffective by attempting to

influence government witnesses. Giles also states that Weber was ineffective for not

objecting to trial testimony regarding Crawford's conduct.

       On direct appeal, Giles raised his ineffectiveness claim with respect to Crawford.

The Eighth Circuit stated:

       Although Crawford's conduct may have been unethical and deficient, it ended
       six months before trial when she withdrew from representation. Her conduct
       did not harm Giles directly-it was not until this evidence was introduced and
       discussed at trial, without objection from Giles's trial attorney, that it had the
       potential to affect the jury's verdict.

United States v. Brown, 560 F.3d 754, 771 (8th Cir. 2009).

       Weber stated in his affidavit that the evidence of Crawford's, and Giles's, actions to

obstruct justice appeared to be relevant and unobjectionable. It is noted that Giles received

an upward adjustment for obstruction of justice at sentencing. It was a part of Weber's trial

strategy not to emphasize this damaging evidence with frivolous objections.                 Again,

reasonable trial strategy is left to counsel's discretion. Villalpando, 259 F.3d at 938-39. The

strategy is reasonable, and Giles cannot prove either Strickland prong.

D.     Claims II(3) and IV(6) - Informant Jury Instruction

       Giles argues his lawyer was deficient for not requesting an “informant” instruction and

that appellate counsel was remiss for not arguing this issue. Giles does not specify which

instruction he would have included.

       In its final instructions, the Court included the following model Eighth Circuit

instructions relating to witness credibility: 1.05 (witness credibility); 4.04 (testimony under



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grant of immunity or plea agreement); 4.05 (testimony of accomplice); 4.05A (credibility of

cooperating witness); and 2.18 (impeachment of witness with one or more prior

convictions). Had the Court given Eighth Circuit model instruction 4.06 (testimony of

informer), for example, the instruction would not have added to the extensive instructions

given with respect to witness credibility. And, as stated in the commentary accompanying

model instruction 4.06, giving the instruction is within the trial court's discretion. United

States v. Payton, 636 F.3d 1027, 1040 (8th Cir. 2011), cert. denied, __ S. Ct. __, 2011 WL

4536363 (Oct. 3, 2011). The appropriate inquiry is whether the “'instructions, taken as a

whole and viewed in light of the evidence and applicable law, fairly and adequately

submitted the issues in the case to the jury.'” Id. (quoting United States v. Dvorak, 617 F.3d

1017, 1024 (8th Cir. 2010), cert. denied, 131 S. Ct. 1539 (2011)). Giles has not alleged how

the absence of Model Instruction 4.06, or any other “informant” instruction, affected the

outcome of his case. He cannot prove either Strickland prong.

E.     Claim II(6) - Giles's Right to Testify

       Giles argues his counsel did not allow him to testify and failed to advise him the

decision was his.

       The Eighth Circuit has determined that, if counsel rests and a criminal defendant

wants to testify, a defendant has a duty to act affirmatively and ask to testify. United States

v. Bernloehr, 833 F.2d 749, 752 (8th Cir. 1987). Weber rested on Giles's behalf after an off-

the-record discussion was had. The transcript does not state with whom Weber conferred;

however, the government stated in its brief that Weber conferred with Giles. (Filing No. 694,

at 2813; Filing No. 829, at 19.) In any event, Giles allowed his attorney to rest without



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objection. Moreover, Giles has not shown prejudice.4 Therefore, Giles has not shown

either prong of the Strickland test.

F.     Claim III(2) - Vacate Count II

       Similarly, Giles alleged that his lawyer should have argued that the conviction and

sentence for Count II or IV should have been vacated. Both counts charged that Giles, on

different dates, used, carried, possessed, and discharged a firearm during and in relation

to a drug trafficking crime. Under 18 U.S.C. § 924(c), each count requires a separate

consecutive term of imprisonment. In his reply brief, Giles argued only that Count II be

vacated. (Filing No. 835-1, at 18.)

       Giles initially offered little by way of argument in support of this claim, and the Eighth

Circuit has often stated that conclusory allegations are insufficient to establish claims of

ineffective assistance of counsel. See, e.g., Bryson, 268 F.3d at 562. In his reply brief,

Giles expanded his argument stating that Weber failed to object to the testimony of

witnesses Clarence Dennis and Cyrinthia Williams under Federal Rule of Evidence 403 as

prejudicial. He argued that this alleged ineffectiveness affected the jury's verdict with

respect to Count II.

       Count II alleged that on or about October 3, 2005, Giles used, carried, possessed,

and discharged a firearm during and in relation to the drug conspiracy. The government

offered evidence, including the testimony of Dennis and Williams, regarding not only the

October 3 shooting, but also a shooting on October 11, 2005. In considering a similar

argument on appeal, the Eighth Circuit stated:


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        The Court notes that Giles has a criminal history, including a drug felony, that
certainly would be raised during his testimony.

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       The government presented evidence about the later shooting in order to
       establish that Monte Williams was shot “during and in relation to” the drug
       trafficking conspiracy. . . . The government . . . produced Clarence Dennis to
       testify that he and Williams had stolen marijuana from Giles and Brown to
       show that the shootings on October 3 and 11 were in retaliation for that
       robbery. Neither defendant objected to this evidence on grounds of relevance
       or unfair prejudice . . . .

              . . . The evidence of the later shooting was presented to establish the
       motive for the attack on Monte Williams on October 3 and to tie it to the drug
       conspiracy. Moreover, the jury instructions clearly stated that Count II
       pertained to conduct on October 3.

(Filing No. 741, at 10.)

       The absence of a Rule 403 objection does not “give rise to a reasonable probability”

that Giles would not have been found guilty. See Garrett v. United States, 78 F.3d 1296,

1302 (8th Cir. 1996) (considering Rule 403). “Speculation as to what the . . . court might

have done . . .    is not equivalent to a showing of prejudice sufficient to undermine

confidence in the outcome of the trial.” Id. Moreover, the other evidence against Giles was

not “flimsy or unpersuasive.” Id. In summary, Giles cannot show prejudice because Weber

did not object to the relevant testimony based on Rule 403.

       Regarding hearsay, Giles raised an argument regarding the testimony of Dennis and

Williams relating to Federal Rule of Evidence 801(d)(2)(E). The argument is unintelligible,

and the government has not had the opportunity to respond to the new argument.

       With respect to both arguments, Giles has failed to meet either Strickland prong.

                                      CONCLUSION

       For the reasons discussed, Giles cannot satisfy the Strickland test. The record

conclusively shows that Giles is not entitled to relief, and his § 2255 motion will be denied.

Count VII will be vacated.


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      IT IS ORDERED:

      1.     The Defendant’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or

Correct Sentence by a Person in Federal Custody (“§ 2255 motion”) (Filing No. 795) is

denied;

      2.     The government's Motion To Dismiss (Filing No. 820) is granted, and an

Amended Judgment and Commitment order will be filed;

      3.     A separate Judgment with respect to the § 2255 motion will be filed; and

      4.     The Clerk is directed to mail a copy of this Memorandum and Order to the

Defendant at his last known address.

      DATED this 10th day of November, 2011.

                                               BY THE COURT:


                                               s/Laurie Smith Camp
                                               United States District Judge




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